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                         Exhibit 1
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                                                            Cascadia
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  Freedom of Information Act Request

  April 24, 2024

  Ryan Witt, FOIA Officer
  Bureau of Land Management
  Attn: FOIA Office (WO-640)
  1849 C St. N.W.
  Washington, DC 20240

  Submitted via email to: rwitt@blm.gov

  Re:              Freedom of Information Act Request for Information Related to BLM Marbled
                   Murrelet Data for Western Oregon BLM Lands

  Dear Mr. Witt:

  This request for documents is made pursuant to the Freedom of Information Act, 5 U.S.C. §§ 552
  et seq. This request is made on behalf of the Cascadia Wildlands and relates to information
  regarding marbled murrelet survey data for Western Oregon BLM Lands. Cascadia Wildlands is
  a non-profit organization based in Eugene, Oregon devoted to protecting old-growth forests and
  the imperiled species therein.

  Specifically, Cascadia Wildlands requests:

  1.     All records, information, documentation, reports, and communication pertaining to
         marbled murrelet surveys in Western Oregon conducted since 2016, including, but not
         limited to, emails, meeting notes, and correspondence. This request specifically includes,
         but is not limited to, the annual marbled murrelet reporting required by the BLM’s
         Resource Management Plan on pages 136 to137 (R26, R27, and R28), specifically “the
         survey effort for marbled murrelet and the outcomes of that survey effort,” “the number
         of newly discovered occupied marbled murrelet sites,” and “the amount of marbled
         murrelet nesting habitat that was modified or removed within the Harvest Land Base.”

  2.     All records, information, documentation, reports and communication with the U.S. Fish
         and Wildlife Service relating to the survey and analysis of marbled murrelet and their
         habitat on Western Oregon BLM lands.

  This request applies to all responsive documents for which disclosure is not expressly prohibited
  by law. If you should seek to prevent disclosure of any of the requested records, we request that
  you: (i) Identify each such document with particularity (including title, subject, date, author,
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  recipient, and parties copied), (ii) Explain in full the basis on which non-disclosure is sought, and
  (iii) Provide us with any severable portions of the records for which you do not claim a specific
  exemption.

  Cascadia Wildlands respectfully requests that you waive any fees, including search and
  duplication costs, which would otherwise be incurred by this request. The Bureau of Land
  Management (BLM) should not charge Cascadia Wildlands for the requested information
  because “disclosure … is in the public interest [and] is likely to contribute significantly to public
  understanding of the operations or activities of the government and is not primarily in the
  commercial interest of the requester.” 5 U.S.C. § 552(a)(4)(A)(iii); 7 C.F.R Pt.1, Subpt. A, App.
  A, Sec. 6. If the BLM decides not to waive fees, please contact me BEFORE incurring any costs
  in response to this FOIA request.

  Cascadia Wildlands is entitled to a fee waiver because disclosure of the requested information
  satisfies all the requirements set out in 7 C.F.R. Pt.1, Subpt. A, App. A, Sec. 6(a)(1)(i)-(vi).
  First, the subject of the request concerns “the operations or activities of the government.” 7
  C.F.R Pt.1, Subpt. A, App. A, Sec. 6(a)(1)(i). Specifically, the requested information concerns
  the operations and activities of the BLM.

  Second, the request has informative value and is “likely to contribute to an understanding of
  government operations or activities.” 7 C.F.R Pt.1, Subpt. A, App. A, Sec. 6(a)(1)(ii). Cascadia
  Wildlands and the public are aware of several proposed and ongoing logging operations and
  planning processes on BLM Lands in Western Oregon. Cascadia Wildlands, numerous other
  groups, and citizen surveyors are heavily involved in conservation efforts within these areas and
  are very concerned about the cumulative impacts of logging on the forest and the public
  resources therein.

  The requested information will contribute to an understanding of the scope of the proposed
  logging, and the underlying reasoning, scientific, or policy basis for logging proposals on
  Western Oregon BLM lands as well better understand the status and any population changes for
  marbled murrelet on BLM Lands. Cascadia Wildlands has “expertise regarding the requested
  information” because our staff, board, and members include wildlife biologists, environmental
  attorneys, and other relevant experts who will review the requested records.

  Third, the disclosure will likely contribute significantly to the “understanding of the subject by
  the general public.” 7 C.F.R Pt.1, Subpt. A, App. A, Sec. 6(a)(1)(iii); 7 C.F.R Pt.1, Subpt. A,
  App. A, Sec. 6(a)(1)(iv). There has been significant public interest in old-forest conservation in
  Oregon, especially in areas that Oregonians frequently recreate within such as these areas along
  the forest of Oregon and have deep appreciation of the coastal forests and the listed birds that
  inhabit them, such as the marbled murrelet. Cascadia Wildlands intends to use this information to
  inform the public of the BLM’s logging activities and the resulting cumulative impacts on public
  resources.

  Cascadia Wildlands also intends to use the information to encourage the public to participate in
  governmental activities and in the planning process for the ongoing forest planning projects
  occurring on public lands in Western Oregon. Cascadia Wildlands will disseminate the requested

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  information to our 12,000 members and to the general public in several ways including by the
  media, on our website, by email, in our newsletter, and others. The Cascadia Wildlands’
  campaign emails are received by more than 7,000 people every two weeks; our website is visited
  by more than 3,000 people per month; and our newsletter is read by more than 1,000 people
  every quarter. Because our mission is to educate the public about the Cascadia bioregion and the
  environmental threats it faces, the public understanding of the subject of the requested
  information is perhaps our primary goal in requesting it.

  Finally, the disclosure of the requested information “is not primarily in the commercial interest
  of the requestor.” 5 U.S.C. § 552(a)(4)(A)(iii); 7 C.F.R Pt.1, Subpt. A, App. A, Sec. 6(a)(1)(v)-
  (vi). Cascadia Wildlands does not have an interest in the requested information in “commerce,
  trade, or profit.” McClellan Ecological Seepage Situation v. Carlucci, 835 F.2d 1282, 1285 (9th
  Cir. 1987). Cascadia Wildlands intends to use the requested information, as stated above, to
  further the public interest by guarding against irresponsible and potentially illegal logging on
  public forests.

  As provided by FOIA, Cascadia Wildlands trusts that we shall receive an initial determination
  regarding all components of our request within twenty business days of receipt. 5 U.S.C. §
  552(a)(6)(A)(I). If the BLM refuses to grant the requested fee waiver, please contact me before
  incurring any expense related to this FOIA request. In the event of an adverse response, Cascadia
  Wildlands reserves the right to appeal such a decision. If you have any questions regarding this
  request, please contact me by email at peter@cascwild.org or by phone at (541) 434-1463. Thank
  you for your consideration of this request.


  Sincerely,

  Peter Jensen, OSB # 235260
  P.O. Box 10455
  Eugene, Oregon 97440
  Tel: (541) 434-1463
  peter@cascwild.org




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